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AO 450 (GAS Rev 10/03) Judgment in a Civil Case

United States District Court
Southern District of Georgia

 

MARGERY FREIDA MOCK: and ERIC SCOTT
OGDEN, JR., Individually and on behalf of others
similarly situated,

JUDGMENT IN A CIVIL CASE

Plaintiffs,

V. CASE NUMBER: 2:18-cv-25

GLYNN COUNTY GEORGIA; E. NEAL JUMP,
Glynn County Sheriff; ALEX ATWOOD, Glynn
County Chief Magistrate Judge; B. REID ZEH, III,
Glynn County Misdemeanor Public Defender,

Defendants.

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

Decision by Court.This action came before the Court. The issues have been considered and a decision has been

rendered.

IT IS ORDERED AND ADJUDGED

that, pursuant to the Order of this Court dated July 2, 2019, and the parties’ Joint Stipulation of
Dismissal, the Court dismisses with prejudice all of Plaintiffs' claims against Defendants. This case
stands closed. The Court shall retain jurisdiction for up to five years from the date of this judgment

to enforce the terms of the Settlement Agreement reached by the parties in this case.

AS Lo

 

 

 

 

Approved by:
July 8, 2019 Scott L. Poff
Date Clerk

(By) Deputy Clerk

 

GAS Rev 10/1/03
